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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

  MEGAN GARCIA, individually                 Case No.: 6:24-cv-1903-ACC-NWH
  and as the Personal Representa-
  tive of the Estate of S.R.S. III,
           Plaintiff,
      v.
  CHARACTER TECHNOLOGIES,
  INC., NOAM SHAZEER, DANIEL
  DE FRIETAS, GOOGLE LLC,
  and ALPHABET INC.,
           Defendants,


    Brief of Proposed Amici Curiae in Support of Defendants’ Motion
     Requesting That This Court Certify the Case for Interlocutory
                                Appeal

                               Summary of Argument

           An order should be certified for interlocutory appeal when it “involves a

  controlling question of law as to which there is substantial ground for differ-

  ence of opinion.” 28 U.S.C. § 1292(b). Interlocutory appeals under § 1292(b) are

  “intended, and should be reserved, for situations in which the court of appeals

  can rule on a pure, controlling question of law without having to delve beyond

  the surface of the record.” McFarlin v. Conseco Servs., LLC, 381 F.3d 1251,

  1259 (11th Cir. 2004). “The district court should measure the weight of oppos-

  ing arguments to the disputed ruling in deciding whether there is a substantial




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  ground for dispute.” Havana Docks Corp. v. Norwegian Cruise Line Holdings,

  Ltd., No. 19-CV-23591, 2020 WL 3433147, at *2 (S.D. Fla. June 23, 2020).

        This amicus brief opines on a single issue: whether Large Language

  Model (LLM) and chatbot output received and understood by an AI service’s

  users is protected by the First Amendment. Court rulings that recognize a First

  Amendment right to listen, and to receive and gather information, create a

  “substantial ground for difference of opinion” on whether a non-human source

  of textual information affects its status as First Amendment-protected

  “speech.”

        First, the First Amendment protects the rights of listeners. “It is now

  well established that the Constitution protects the right to receive information

  and ideas.” Stanley v. Georgia, 394 U.S. 557, 564 (1969). The Supreme Court

  has protected the right of listeners to receive speech even when it was not clear

  that any First Amendment-protected speaker was engaged in the speech. This

  logic justifies recognizing that the First Amendment protects AI chatbot out-

  put. See Part I, infra.

        Second, courts have recognized that the First Amendment protects the

  use of technology such as video or audio recording to “gather information,”

  Smith v. City of Cumming, 212 F.3d 1332, 1333 (11th Cir. 2000), and to create

  materials that the gatherer can then further communicate. People likewise of-

  ten use LLMs to generate writing that they use to express themselves in the


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  form of social media posts and comments. This too justifies providing First

  Amendment protection to AI output, as a means of protecting the users’ future

  speech. See Part II, infra.

        Third, the developers and users of LLMs jointly create an “expressive

  choice[],” Moody v. NetChoice, LLC, 603 U.S. 707, 740 (2024), about how to

  program, and then how to use, these chatbots as a tool to create speech for their

  own reading consumption. This likewise justifies providing First Amendment

  protection to AI output. See Part III, infra.

        Because First Amendment coverage would affect the legal and factual

  issues in this case and would help stabilize the law in this rapidly evolving

  industry, the court should certify this issue for interlocutory appeal.

                              Interest of Amici Curiae

        Professor Jane Bambauer is a Professor of Law and Brechner Eminent

  Scholar Chair at the University of Florida Levin College of Law and at the

  College of Journalism and Communications. She teaches First Amendment, AI

  and the Law, Tort Law, and Privacy Law, and currently serves on the National

  AI Advisory Committee Subcommittee on Law Enforcement. 1 Professor Bam-

  bauer’s work analyzes how the regulation of these new information technolo-




  1 See National Artificial Intelligence Advisory Committee, Law Enforcement Subcommittee,

  Year 1 Report & Roadmap (Feb. 2024), https://ai.gov/wp-content/images/NAIAC-LE-Subcom-
  mittee-Year1-Report-Roadmap.pdf.


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  gies will affect free speech, privacy, law enforcement, health and safety, com-

  petitive markets, and government accountability. See, e.g., Jane R. Bambauer,

  Negligent AI Speech: Some Thoughts About Duty, 3 J. FREE SPEECH L. 343

  (2023).

        Professor Eugene Volokh is the Gary T. Schwartz Distinguished Profes-

  sor of Law Emeritus at UCLA School of Law, and the Thomas M. Siebel Senior

  Fellow at the Hoover Institution at Stanford University. He often writes about

  legal issues central to this case, including First Amendment protection for AI

  output. See, e.g., Eugene Volokh, Mark A. Lemley & Peter Henderson, Freedom

  of Speech and AI Output, 3 J. FREE SPEECH L. 651 (2023); Eugene Volokh,

  Large Libel Models? Liability for AI Output, 3 J. FREE SPEECH L. 489 (2023).

                                   Argument

  I.    There is substantial ground to believe that the First Amendment
        protects AI output, because the First Amendment protects listen-
        ers’ rights to access information

        The First Amendment protects the rights of listeners as well as of speak-

  ers. Indeed, it protects listeners’ rights even when it is unclear whether the

  speakers have such rights. Thus, for instance, even though the First Amend-

  ment may not protect foreign speakers who produce “political propaganda pre-

  pared and printed abroad by or on behalf of a foreign government,” Lamont v.

  Postmaster Gen., 381 U.S. 301, 305, 307-08 (1965) (Brennan, J., concurring),

  the Court struck down a restriction on the mailing of such material into the


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  U.S. in order to protect “the addressee’s First Amendment rights.” Id. at 307

  (majority opin.).

        Likewise, before the constitutional protection for corporations’ rights to

  speak about elections was settled in Citizens United v. Federal Election Com-

  mission, 558 U.S. 310 (2010), the Court struck down restrictions on such

  speech because of the interests of “the public” as listeners: “[T]he inherent

  worth of the speech in terms of its capacity for informing the public,” the Court

  held, “does not depend upon the identity of its source, whether corporation,

  association, union, or individual.” First Nat. Bank of Boston v. Bellotti, 435 U.S.

  765, 777 (1978). And a major reason that the Court recognized the protection

  of commercial speech in Va. State Bd. of Pharmacy v. Va. Citizens Consumer

  Council, Inc., 425 U.S. 748 (1976), was readers’ “right to receive” the message.

  Id. at 757. See also id. at 757 n.15 (recognizing “the independent right of the

  listener to receive the information sought to be communicated”).

        Similarly, the First Amendment surely protects citizens’ interest in read-

  ing works of long-dead authors, like Aristotle or Machiavelli, even though those

  authors lack their own constitutional rights, since “[a] person’s constitutional

  rights terminate at death,” State v. Powell, 497 So. 2d 1188, 1190 (Fla. 1986).

  And that is true independently of the right of publishers to reprint those au-

  thors: Restricting access to such authors would violate our rights as readers at

  least as much as it would violate publishing companies’ rights as publishers.


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        And the First Amendment applies even when the specific and often-

  unique expression that is received by viewers was not created under the full

  control of a human speaker. The “painting of Jackson Pollock,” after all, is “un-

  questionably shielded by the First Amendment,” Hurley v. Irish-Am. Gay, Les-

  bian & Bisexual Grp. of Boston, 515 U.S. 557, 569 (1995), even though the point

  of his paint splatter technique is precisely that the output was not entirely

  within his control. See Teresa L. Ebert, The Aesthetics of Indeterminacy: The

  Postmodern Drip Paintings of Jackson Pollock, 22 CENTENNIAL REV. 139, 139

  (1978). The same would presumably be true of the automation and use of ran-

  domization among the Surrealists. See Santiago Arango-Muñoz & José P.

  Bermúdez, Intentional Mind-Wandering as Intentional Omission: The Surre-

  alist Method, 199 SYNTHESE 7727 (2021), https://doi.org/10.1007/s11229-021-

  03135-2. More importantly, the First Amendment protects a right to receive

  information in order to facilitate the listener’s freedom of mind, not to serve

  the speaker’s agenda. “‘The makers of our Constitution’” “‘sought to protect

  Americans in their beliefs, their thoughts, their emotions and their sensa-

  tions.’” Stanley, 394 U.S. at 564 (quoting Olmstead v. United States, 277 U.S.

  438, 478 (1928) (Brandeis, J., dissenting)).

        We are therefore entitled to read AI-generated output, even if no living

  human generated that output. And, as in Virginia Pharmacy, the distributors




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  of that speech are entitled to First Amendment protection as a means of vindi-

  cating reader rights. One way of seeing this is to imagine viewpoint-based

  speech restrictions on AI output, such as a state law restricting AI output that

  is critical of the government, or that advocates for (or against) abortion rights.

  Surely those restrictions would be unconstitutional, because the government

  may not thus try to interfere with readers’ rights to acquire information and

  argument—including AI-generated information and argument. The First

  Amendment of course generally protects against content-based speech re-

  strictions and not just against viewpoint-based ones. See, e.g., Reed v. Town of

  Gilbert, 576 U.S. 155 (2015).

  II.   There is substantial ground to believe that the First Amendment
        protects AI output, because the First Amendment protects users’
        rights to use AI programs to generate speech that they would
        then publish

        Millions of Americans who use LLM AIs use them to generate speech

  that they can further distribute (perhaps after some editing), including “social

  media posts,” “presentations,” and “emails.” See Lee Rainie, Close Encounters

  of the AI Kind 8 (Elon Univ. Imagining the Digital Future 2025),

  https://perma.cc/X4CU-EN3Y. The First Amendment protects AI output in

  part to protect users’ ability to use that output to themselves speak.




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        The right to record in public places offers a helpful analogy. “[B]anning

  photography or note-taking at a public event would raise serious First Amend-

  ment concerns; a law of that sort would obviously affect the right to publish

  the resulting photograph or disseminate a report derived from the notes. The

  same is true of a ban on audio and audiovisual recording.” ACLU of Illinois v.

  Alvarez, 679 F.3d 583, 595-596 (7th Cir. 2012). This is especially well-estab-

  lished when a person records public officials. See Smith v. City of Cumming,

  212 F.3d at 1333 (“The First Amendment protects the right to gather infor-

  mation about what public officials do on public property, and specifically, a

  right to record matters of public interest.”). Videorecording is not itself

  speech—but it produces material “in a form that can readily be disseminated

  to others,” Glik v. Cunniffe, 655 F.3d 78, 82 (1st Cir. 2011). Likewise, restrict-

  ing AI output would raise serious First Amendment concerns, because it would

  affect people’s right to revise and then publish that output, as the user’s own

  speech.

        Justice Barrett’s concurrence in Moody raised questions about whether

  AI-based content moderation decisions (not AI-generated text) would be pro-

  tected by the First Amendment. See Moody, 603 U.S. at 744 (Barrett, J., con-

  curring). Yet even if this one-Justice analysis were treated as definitive and

  applicable beyond content moderation, Justice Barrett acknowledged that AI-

  based decisions would indeed often be protected when they “simply implement


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  human beings’ inherently expressive choice ‘to exclude a message,’” id. at 746

  (citation omitted), for instance when the platform operators “decide to remove

  posts promoting a particular political candidate or advocating some position on

  a public-health issue.” Id. Thus, she acknowledged that many AI-based deci-

  sions are protected by the First Amendment, if they merely implement “human

  beings’ inherently expressive choice[s].” Most LLM output likewise implements

  human beings’ expressive choices—both the choices of users and of the AI pro-

  grams’ designers. See, e.g., Am. Compl., Doc. 11 ¶ 37 (describing defendant’s

  system as “capable of generating unique, original content . . . based on user

  input”); id. ¶ 133 (describing how defendant’s system “provides customers with

  limited fields in which they can customize their ‘Character’”—such as provid-

  ing a name for the character—which “may impact how the Character responds

  when interacting with customers”).

        Justice Barrett suggested (without definitively deciding) that an AI pro-

  gram tasked with the vague prompt to “remove ‘hateful’ content,” id., might

  possibly not be afforded free speech protections because the program itself de-

  termines what is “hateful” with no input from the user. In such a situation, she

  reasoned, the program’s effect—removing certain posts—is too far discon-

  nected from the user’s expression. Id. at 746 (Barrett, J., concurring). This ten-

  tatively suggested analysis may be incorrect; after all, an AI program that is




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  deciding “for itself” what is hateful is still trained on past input that was cre-

  ated by, reinforced by, or in some way a reflection of human judgment about

  “hate.” But in any case, the LLM output of chatbots is very closely linked to

  the user’s input: not completely controlled by it, of course, but heavily influ-

  enced by it, especially in the course of an extended conversation.

  III.   There is substantial ground to believe that the First Amendment
         protects AI output, because the First Amendment protects users’
         rights to use AI programs to generate speech that they want to
         read

         Most users of programs such as Character.AI likely use those programs

  just to generate speech that they would want to read—such as a conversation

  with a fictional character—rather than speech that they would want to publish

  to the world. But such personal speech itself merits First Amendment protec-

  tion. The First Amendment protects a person’s “the right to read or observe

  what he pleases—the right to satisfy his intellectual and emotional needs in

  the privacy of his own home.” Stanley v. Georgia, 394 U.S. 557, 565 (1969).

         To be sure, the Court in Stanley held this as to obscenity, and the law

  can indeed forbid the distribution to minors of material that is obscene as to

  minors. See Ginsberg v. New York, 390 U.S. 629 (1968). But, contrary to plain-

  tiff’s insinuations, none of the material described in the Complaint was out-

  right pornographic, even when read by a 14-year-old. None, for instance, de-

  picted “nudity,” “sexual conduct,” “sexual excitement” (“human male or female



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  genitals when in a state of sexual stimulation or arousal”), or “sadomasochistic

  abuse,” which would be required for it to qualify as “harmful to minors” under

  FLA. STAT. §§ 847.001(7), (11), (16), (19), (20). And in any event, the conclusion

  that “the Court is not prepared to hold that Character A.I.’s output is speech,”

  May 21, 2025 Order (Doc. 115) at 31, would apply to all AI output rather than

  just for sexually themed output.

                                     Conclusion

        The Court should certify this case for interlocutory appeal because there

  is a substantial ground for difference of opinion as to whether “Character A.I.’s

  output is speech,” id. at 31, that is presumptively protected by the First

  Amendment. Precedents protecting Americans’ First Amendment rights to re-

  ceive speech—even when the speakers may not themselves be protected by the

  First Amendment—suggest that AI output should indeed be viewed as pro-

  tected. So do cases protecting Americans’ First Amendment rights to use tech-

  nological tools (such as cameras) to create material that the users can then

  communicate to the public. And users’ interest in using technological tools in

  creating expression that they themselves want to read, for the sake of “sat-

  isfy[ing their own] intellectual and emotional needs,” also suggests that AI out-

  put is protected by the First Amendment. This purely legal finding would alter

  the trajectory of this case and provide clarity for courts and litigants operating

  in the Circuit.


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                                           Respectfully submitted,

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